Dear Judge Miller:
This office is in receipt of your opinion request in which you present the issue of whether or not the St. Charles Parish Council may reduce the salary of a justice of the peace or constable in St. Charles Parish who is continuing to serve until, pursuant to a Louisiana Supreme Court ruling, the legislature redraws the district lines in St. Charles Parish and until new elections are held.
The Louisiana Supreme Court addressed this matter in the case of Miller v. Oubre, 96-2022 (La. 10/15/96), 682 So.2d 231, and stated in part:
      "Those justices of the peace and constables now serving, shall remain in office until constitutional districts are created by the legislature, and their successors are duly elected from legally drawn districts and inducted into office."
The Supreme Court in this decision affirmed the decision of the Fifth Circuit Court of Appeals which stated in part:
      "We therefore find that the election process must be enjoined, and the status quo maintained until the legislature takes such action as it deems appropriate to resolve this problem."
The salaries of the justices of the peace and constables were not specifically addressed by either the Court of Appeal or the Supreme Court in the above cited matter. However, the specific language of the Court of Appeal which states that the status quo should be maintained, and the affirmation thereof by the Supreme Court, indicated an intention that all aspects of the justices of the peace and constables in St. Charles Parish, including salary, should be maintained until the legislature redraws the district lines and until a new election is held.
Thus, it is the opinion of this office that the St. Charles Parish Council cannot reduce the salary of any justice of the peace or constable in St. Charles Parish who is continuing to serve until, pursuant to a Louisiana Supreme Court ruling, the legislature redraws the district lines in St. Charles Parish and until new elections are held.
We hope the foregoing has addressed your concerns. If this office may be of further assistance, please do not hesitate to contact us at your convenience.
Yours very truly,
                               RICHARD P. IEYOUB ATTORNEY GENERAL
                           By: __________________________________ J. RICHARD WILLIAMS Assistant Attorney General
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